          Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 1 of 36




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x

UNITED STATES OF AMERICA                                      :

        -v.-                                                  :      20 Cr. 330 (AJN)

GHISLAINE MAXWELL,                                            :

                                  Defendant.                  :

---------------------------------------------------------------x




                THE GOVERNMENT’S MEMORANDUM IN OPPOSITION
               TO THE DEFENDANT’S RENEWED MOTION FOR RELEASE




                                                              AUDREY STRAUSS
                                                              Acting United States Attorney
                                                              Southern District of New York
                                                              Attorney for the United States of America




Maurene Comey
Alison Moe
Lara Pomerantz
Assistant United States Attorneys
- Of Counsel -
            Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 2 of 36




                                                   TABLE OF CONTENTS
THE GOVERNMENT’S MEMORANDUM IN OPPOSITION TO THE DEFENDANT’S
RENEWED MOTION FOR RELEASE ......................................................................................... 1
BACKGROUND ............................................................................................................................ 2
APPLICABLE LAW ...................................................................................................................... 6
DISCUSSION ................................................................................................................................. 8

A.        The Nature and Circumstances of the Offense ................................................................... 8

B.        The Strength of the Evidence .............................................................................................. 9

C.        The Characteristics of the Defendant ................................................................................ 12

D.        Conditions of Confinement ............................................................................................... 29
CONCLUSION ............................................................................................................................. 33
               Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 3 of 36




                                                             TABLE OF AUTHORITIES
Jackson v. Goord, 664 F. Supp. 2d 307 (S.D.N.Y. 2009)............................................................................................ 27
United States v. Abdullahu, 488 F. Supp. 2d 433 (D.N.J. 2007) ................................................................................. 19
United States v. Banki, 10 Cr. 008 (JFK), Dkt. 7 (S.D.N.Y. Jan. 21, 2010), aff’d, 369 F. App’x 152 (2d Cir. 2010) . 26
United States v. Benatar, No. 02 Cr. 099 (JG), 2002 WL 31410262 (E.D.N.Y. Oct. 10, 2002) ................................. 26
United States v. Bodmer, No. 03 Cr. 947 (SAS), 2004 WL 169790 (S.D.N.Y. June 28, 2004) .................................. 28
United States v. Bohn, 330 F. Supp. 2d 960 (W.D. Tenn. 2004) ................................................................................. 15
United States v. Botero, 604 F. Supp. 1028 (S.D. Fla. 1985) ...................................................................................... 15
United States v. Boustani, 356 F. Supp. 3d 246 (E.D.N.Y.), aff’d, No. 19-344, 2019 WL 2070656 (2d Cir. Mar. 7,
  2019) ........................................................................................................................................................................ 28
United States v. Boustani, 932 F.3d 79 (2d Cir. 2019) ...................................................................................... 6, 25, 26
United States v. Chen, 820 F. Supp. 1205, 1209 (N.D. Cal. 1992) .............................................................................. 15
United States v. Cilins, No. 13 Cr. 315 (WHP), 2013 WL 3802012 (S.D.N.Y. July 19, 2013) ............................ 16, 19
United States v. Cirillo, No. 99-1514, 1999 WL 1456536 (3d Cir. July 13, 1999) ..................................................... 15
United States v. Cohen, No. C 10-00547, 2010 WL 5387757 n.11 (N.D. Cal. Dec. 20, 2010) ................................... 15
United States v. Dreier, 596 F. Supp. 2d 831 (S.D.N.Y. 2009) ................................................................................... 27
United States v. English, 629 F.3d 311 (2d Cir. 2011) ..................................................................................................7
United States v. Epstein, 155 F. Supp. 2d 323 (E.D. Pa. 2001) ................................................................................... 28
United States v. Epstein, 425 F. Supp. 3d 306 (S.D.N.Y. 2019)............................................................................ 15, 29
United States v. Esposito, 309 F. Supp. 3d 24 (S.D.N.Y. 2018) .................................................................................. 27
United States v. Georgiou, No. 08-1220-M, 2008 WL 4306750 (E.D. Pa. Sept. 22, 2008) ........................................ 15
United States v. Karni, 298 F. Supp. 2d 129 (D.D.C. 2004)........................................................................................ 15
United States v. Kazeem, No. 15 Cr. 172, 2015 WL 4645357 (D. Or. Aug. 3, 2015) ................................................. 15
United States v. Khashoggi, 717 F. Supp. 1048 (S.D.N.Y. 1989) ......................................................................... 15, 28
United States v. Madoff, 586 F. Supp. 2d 240 (S.D.N.Y. 2009) .................................................................................. 27
United States v. Mercedes, 254 F.3d 433 (2d Cir. 2001) ......................................................................................... 7, 29
United States v. Morrison, No. 16-MR-118, 2016 WL 7421924 (W.D.N.Y. Dec. 23, 2016) ..................................... 15
United States v. Namer, 238 F.3d 425, 2000 WL 1872012 (6th Cir. Dec. 12, 2000) .................................................. 19
United States v. Patrick Ho, 17 Cr. 779 (KBF), Dkt. 49 (S.D.N.Y. Feb. 4, 2018) ...................................................... 28
United States v. Petrov, 15 Cr. 66 (LTS), 2015 WL 11022886 (S.D.N.Y. Mar. 26, 2015) ....................................... 7, 8
United States v. Rowe, 02 Cr. 756 (LMM), 2003 WL 21196846 (S.D.N.Y. May 21, 2003) ......................................... 7
United States v. Sabhani, 493 F.3d 63 (2d Cir. 2007) ...................................................................................................6
United States v. Salvagno, 314 F. Supp. 2d 115 (N.D.N.Y. 2004) .............................................................................. 15
United States v. Stanton, No. 91 Cr. 889 (CHS), 1992 WL 27130 & n.1 (S.D.N.Y. Feb. 4, 1992)............................. 18
United States v. Stroh, No. 396 Cr. 139, 2000 WL 1832956 (D. Conn. Nov. 3, 2000) ............................................... 15
United States v. Young, Nos. 12 Cr. 502, 12 Cr. 645, 2013 WL 12131300 (D. Utah Aug. 27, 2013) ......................... 15
United States v. Zarger, No. 00 Cr. 773 (JG), 2000 WL 1134364 (E.D.N.Y. Aug. 4, 2000) ...................................... 26
          Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 4 of 36




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x

UNITED STATES OF AMERICA                                      :

        -v.-                                                  :    20 Cr. 330 (AJN)

GHISLAINE MAXWELL,                                            :

                                  Defendant.                  :

---------------------------------------------------------------x

 THE GOVERNMENT’S MEMORANDUM IN OPPOSITION TO THE DEFENDANT’S
                 RENEWED MOTION FOR RELEASE

        The Government respectfully submits this memorandum in opposition to the defendant’s

renewed motion for release on bail, dated December 8, 2020 (the “Renewed Bail Motion”). Five

months ago, after thorough briefing and a nearly two-hour hearing, this Court concluded that the

defendant posed a serious flight risk and that no condition or combination of conditions could

ensure her appearance in court. The defense now asks this Court to reverse that finding by

essentially repackaging its prior arguments and presenting a more specific bail package. However,

at the July 14, 2020 bail hearing in this case, this Court rejected the defendant’s request to keep

the record open to allow the defendant to do precisely what she has done here—namely, present

more detailed information about her finances and a more concrete package—determining that

further information about her financial picture would be irrelevant because no combination of

conditions could ensure this defendant’s appearance. The Court’s conclusion was plainly correct,

and the Renewed Bail Motion does nothing to undermine it. The offense conduct outlined in the

Indictment remains incredibly serious, the evidence against the defendant remains strong, and the

defendant continues to have extensive financial resources and foreign ties, as well as the



                                                         1
         Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 5 of 36




demonstrated ability to live in hiding for the long term. In short, the defendant poses an extreme

flight risk, no condition or combination of conditions can reasonably ensure her appearance in this

District, and the Court should not alter its prior finding to that effect.

                                          BACKGROUND

        As detailed in the Indictment, the defendant is charged with facilitating the sexual abuse of

multiple minor victims by Jeffrey Epstein between approximately 1994 and 1997. The defendant

played a critical role in the scheme by helping to identify, entice, and groom minor girls to engage

in sex acts with Epstein. The defendant’s presence as an adult woman normalized Epstein’s

abusive behavior, and she even took part in at least some acts of sexual abuse. Together, the

defendant and Epstein conspired to entice and cause minor victims to travel to Epstein’s residences

in different states, which the defendant knew and intended would result in their grooming for and

subjection to sexual abuse. Then, in an effort to cover up her crimes, the defendant lied under oath

during a civil deposition, including when asked about her interactions with minor girls.

        Based on that conduct, the Indictment charges the defendant in six counts. Count One

charges the defendant with conspiring with Epstein and others to entice minors to travel to engage

in illegal sex acts, in violation of 18 U.S.C. § 371. Count Two charges the defendant with enticing

a minor to travel to engage in illegal sex acts, in violation of 18 U.S.C. §§ 2422 and 2. Count

Three charges the defendant with conspiring with Epstein and others to transport minors to

participate in illegal sex acts, in violation of 18 U.S.C. § 371. Count Four charges the defendant

with transporting minors to participate in illegal sex acts, in violation of 18 U.S.C. §§ 2423 and 2.

Counts Five and Six charge the defendant with perjury, in violation of 18 U.S.C. § 1623.




                                                   2
         Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 6 of 36




       On July 2, 2020, the Federal Bureau of Investigation (“FBI”) arrested the defendant.

Following extensive briefing, on July 14, 2020, the Court held a lengthy bail hearing. In its written

and oral submissions, the defense urged the Court to release the defendant on bail.

       Among other things, the defense emphasized the defendant’s family ties and residence in

the United States (Dkt. 18 at 2, 3, 12), offered to hire a private security company to monitor the

defendant (Id. at 20), noted that the defendant remained in the country and was in touch with the

Government through counsel following Epstein’s arrest (Dkt. 18 at 12-13; Tr. 49, 52-55), argued

that the defendant went into hiding to avoid a media frenzy (Dkt. 18 at 14-16; Tr. 55-56), and

argued that detention would hamper the ability to prepare a defense (Tr. 42, 67-69). Responding

to the Government’s concerns about the lack of transparency about the defendant’s finances and

six proposed co-signers, the defense specifically asked the Court to keep the proceedings open if

the Court believed additional information or a more fulsome bond would be useful to the bail

determination. (Tr. 52 (“And if the court determines that the conditions that we have proffered are

insufficient or need further verification, as long as we can have some assurance of safety and

confidentiality, we would recommend that the court keep the proceeding open, and we should be

able to get whatever the court needs to satisfy it.”); Tr. 59 (“Even if the court were to assume for

purposes of today’s proceeding that she has the means that the government claims she does, it does

not affect the analysis. That is to be addressed in conditions, to be addressed if the court requires

it, through verifications and further proceedings before the court.”); Tr. 66 (“If the court desires to

leave the proceeding open for a week and allow us to come back, if the court has concerns about

the number of suretors, for example, verification information, information about financial issues,

we think that, now that we have some ability to breathe a little bit, that we should be able to pull

this together for the court’s consideration.”); Tr. 70 (“And if the court needs more information




                                                  3
         Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 7 of 36




from us, we would respectfully request that the court leave the proceeding open for a week so that

we can try to satisfy the court because we want to.”)).

       The Court declined the defense’s request and instead concluded that the defendant posed a

serious flight risk and that no combination of conditions could ensure her appearance. First, the

Court found that “the nature and circumstances of the offense here weigh in favor of detention,”

given the statutory presumption of detention triggered by charges involving minor victims and the

potential penalties those charges carry. (Tr. 82). Second, the Court determined that “[t]he

government’s evidence at this early juncture of the case appears strong” based on the “multiple

victims who provided detailed accounts of Ms. Maxwell’s involvement in serious crimes,” as well

as corroboration in the form of “significant contemporaneous documentary evidence.” (Id.).

Third, the Court found that the defendant’s history and characteristics demonstrate that the

defendant poses a risk of flight. (Tr. 83).

       In addressing that third factor, the Court emphasized the defendant’s “substantial

international ties,” which “could facilitate living abroad,” including “multiple foreign

citizenships,” “familial and personal connections abroad,” and “at least one foreign property of

significant value.” (Tr. 83). The Court also noted that the defendant “is a citizen of France, a

nation that does not appear to extradite its citizens.” (Id.). The Court further found that the

defendant “possesses extraordinary financial resources” and that “the representations made to

Pretrial Services regarding the defendant’s finances likely do not provide a complete and candid

picture of the resources available.” (Tr. 83-84).

       Although the Court recognized that the defendant “does have some family and personal

connections to the United States,” the Court highlighted “the absence of any dependents,

significant family ties or employment in the United States” in support of the conclusion that “flight




                                                    4
         Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 8 of 36




would not pose an insurmountable burden for her.” (Tr. 84). The Court recognized the defense

arguments that the defendant did not leave the United States after Epstein’s arrest and was in

contact with the Government through counsel, but emphasized that the defendant may have

expected that she would not be prosecuted. (Tr. 84-85). The Court also noted that the defendant

“did not provide the government with her whereabouts,” and that the “[c]ircumstances of her arrest

. . . may cast some doubt on the claim that she was not hiding from the government, a claim that

she makes throughout the papers and here today, but even if true, the reality that Ms. Maxwell may

face such serious charges herself may not have set in until she was actually indicted.” (Tr. 85).

Based on all of those factors, the Court found that the Government had carried its burden of

demonstrating that the defendant “poses a substantial actual risk of flight.” (Tr. 86).

       The Court then concluded that “even the most restrictive conditions of release would be

insufficient” to ensure the defendant’s appearance. (Id.). Acknowledging that the defense’s initial

bail package represented only a fraction of the defendant’s assets, the Court found that “even a

substantially larger package would be insufficient.” (Id.). Although the defendant “apparently

failed to submit a full accounting or even close to full accounting of her financial situation,” the

Court implicitly rejected the defense’s offer to provide additional information by determining that

“[e]ven if the picture of her financial resources were not opaque, as it is, detention would still be

appropriate.” (Tr. 86-87 (emphasis added)). That conclusion was informed not only by the

defendant’s “significant financial resources,” but also her “demonstrated sophistication in hiding

those resources and herself.” (Tr. 87). “Even assuming that Ms. Maxwell only wanted to hide

from the press and the public,” the Court emphasized that the defendant’s “recent conduct

underscores her extraordinary capacity to evade detection, even in the face of what the defense has

acknowledged to be extreme and unusual efforts to locate her.” (Id.). Given that sophistication,




                                                 5
         Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 9 of 36




the Court concluded that electronic monitoring and home security guards “would be insufficient”

because the defendant could remove the monitor and evade security guards. (Tr. 87-88). Finally,

the Court rejected the defense’s arguments about the risks of COVID-19 and the difficulty of

preparing a defense with an incarcerated client. In so doing, the Court noted that the defendant

has no underlying conditions that place her at heightened risk of complications from COVID-19

and emphasized that the defendant had many months to prepare for trial. (Tr. 89-90).

        Viewing all of these factors together, the Court ordered the defendant detained pending

trial. (Tr. 91).

                                       APPLICABLE LAW

        Under the Bail Reform Act, 18 U.S.C. §§ 3141 et seq., federal courts are empowered to

order a defendant detained pending trial upon a determination that the defendant poses a risk of

flight. 18 U.S.C. § 3142(e). When seeking detention on this ground, “[t]he Government bears the

burden of proving by a preponderance of the evidence both that the defendant ‘presents an actual

risk of flight’ and that ‘no condition or combination of conditions could be imposed on the

defendant that would reasonably assure his presence in court.’” United States v. Boustani, 932

F.3d 79, 81 (2d Cir. 2019) (quoting United States v. Sabhani, 493 F.3d 63, 75 (2d Cir. 2007)). The

Bail Reform Act lists three factors to be considered in the detention analysis when the Government

seeks detention based on flight risk: (1) the nature and circumstances of the crimes charged; (2)

the weight of the evidence against the person; and (3) the history and characteristics of the

defendant, including the person’s “character . . . [and] financial resources.” See 18 U.S.C. §

3142(g). If a judicial officer concludes that “no condition or combination of conditions will

reasonably assure the appearance of the person as required . . . such judicial officer shall order the

detention of the person before trial.” 18 U.S.C. § 3142(e)(1).



                                                  6
          Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 10 of 36




          Additionally, where, as here, a defendant is charged with committing an offense involving

a minor victim under 18 U.S.C. §§ 2422 or 2423, it shall be presumed, subject to rebuttal, that no

condition or combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community. 18 U.S.C. § 3142(e)(3)(E). In such a case, “the

defendant ‘bears a limited burden of production—not a burden of persuasion—to rebut

that presumption by coming forward with evidence that he does not pose . . . a risk of flight.’”

United States v. English, 629 F.3d 311, 319 (2d Cir. 2011) (quoting United States v. Mercedes,

254 F.3d 433, 436 (2d Cir. 2001)). The act of producing such evidence, however, “does not

eliminate the presumption favoring detention.” Id. Rather, the presumption “remains a factor to

be considered among those weighed by the district court,” while the Government retains the

ultimate burden of demonstrating that the defendant presents a risk of flight. Mercedes, 254 F.3d

at 436.

          When the Court has already issued a detention order, the Bail Reform Act provides that the

detention hearing “may be reopened . . . if the judicial officer finds that information exists that was

not known to the movant at the time of the hearing and that has a material bearing on the issue of

whether there are conditions of release that will reasonably assure the appearance” of the

defendant. 18 U.S.C. § 3142(f). Accordingly, “[a] court may properly reject an attempt to reopen

a detention hearing where the new information presented is immaterial to the issue of flight risk.”

United States v. Petrov, 15 Cr. 66 (LTS), 2015 WL 11022886, at *2 (S.D.N.Y. Mar. 26,

2015). Although courts in this Circuit have recognized that “a release order may be reconsidered

even where the evidence proffered on reconsideration was known to the movant at the time of the

original hearing,” United States v. Rowe, 02 Cr. 756 (LMM), 2003 WL 21196846, at *1 (S.D.N.Y.

May 21, 2003), generally the moving party must establish that its arguments “warrant




                                                  7
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 11 of 36




reconsideration” by, for example, demonstrating “that the court overlooked information or

incorrectly applied the law,” or that failure to reconsider “would constitute manifest injustice.”

Petrov, 2015 WL 1102286 at *3.

                                          DISCUSSION

       Having already raised numerous arguments in its briefing and oral argument at the initial

bail hearing in this case, the defense now asks this Court to reverse itself based on virtually the

same arguments it already rejected. The Renewed Bail Application largely reiterates the same

claims regarding the defendant’s ties to the United States and her behavior after Epstein’s arrest

that the Court already found unpersuasive. To the extent the Renewed Bail Application presents

new information, it consists primarily of financial data that was certainly known to the defendant

at the time of her initial bail application and that the Court already assumed could be made

available (and thus rejected as immaterial) when ordering detention. Ultimately, nothing in the

Renewed Bail Application alters the analysis that led this Court to conclude that the defendant

“poses a substantial actual risk of flight,” and that no combination of conditions could assure her

appearance. (Tr. 86). All three of the relevant Bail Reform Act factors still weigh heavily in favor

of detention, and the defense claims to the contrary do not warrant a revisiting of this Court’s well-

reasoned and thorough prior decision.

   A. The Nature and Circumstances of the Offense

       The first Bail Reform Act factor indisputably weighs in favor of detention in this case. The

egregious conduct charged in the Indictment gives rise to a statutory presumption of detention, and

the Renewed Bail Motion makes no effort to challenge this Court’s prior conclusion that the nature

and circumstances of the offense support detention. The charges in the Indictment describe

horrendous conduct involving the sexual abuse of multiple minor victims. If convicted, the



                                                  8
          Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 12 of 36




defendant faces up to 35 years of incarceration, and may very well spend the remainder of her

natural life in prison. The seriousness of the offenses make such a steep penalty a real possibility

upon conviction, thereby giving the defendant an overwhelming incentive to flee if given the

chance.

       In light of that strong incentive to flee, all three of the victims listed in the Indictment have

asked the Government to convey to the Court that they continue to seek the defendant’s detention.

Additionally, pursuant to the Crime Victims’ Rights Act, one of the victims has provided a written

statement urging the Court to deny bail, which is attached as Exhibit A hereto. That unanimous

view of the victims reflects three related reasons that this factor weighs so heavily in favor of

detention. First, the victims sincerely fear that if the defendant is released, she will be able to

evade justice. Second, the pain that the victims still feel to this day as a result of the defendant’s

conduct supports the conclusion that this offense is especially serious and may result in a lengthy

sentence. Third, as discussed further below, the victims’ attention to this case and willingness to

convey their views reflects their commitment to take the stand and testify at the defendant’s trial,

demonstrating the strength of the Government’s case.

       In short, this factor offers no reason to reverse the prior detention order.

   B. The Strength of the Evidence

       Further incentivizing the defendant to flee, the Government’s evidence remains strong. As

the Court recognized when analyzing this factor at the July 14, 2020 hearing, the central evidence

in the Government’s case will come from the detailed testimony of three different victims, who

will each independently describe how the defendant groomed and enticed them to engage in sexual

activity with Jeffrey Epstein. (Tr. 82). The Indictment itself contains a description of the accounts

these victims have provided law enforcement, which corroborate each other in meaningful part.




                                                  9
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 13 of 36




Further, and as set forth below, those victims’ accounts are corroborated by other evidence,

including contemporary documents and other witnesses.

       In challenging this factor, the defense essentially restates its prior arguments on this score.

At the original hearing, the defense argued that the Government’s case was weak because it rested

heavily on witness testimony regarding events from 25 years ago. (See Dkt. 18 at 19; Tr. 64-65).

Having received and reviewed the discovery, the defense now contends the Government’s

corroborating evidence—some of which the Motion itself identifies—is insufficient and reiterates

defense complaints that the discovery does not include other types of evidence.1 (See Mot. at 30-

33).

       None of the defense arguments on this score changes the calculus for this factor. Three

different victims are prepared to provide detailed testimony describing the defendant’s role in

Epstein’s criminal scheme to sexually abuse them as minors. As demonstrated by the information

outlined in the Indictment, these accounts corroborate each other by independently describing the

same techniques used by the defendant and Epstein to groom and entice minor girls to engage in

sex acts. Each victim will describe how the defendant befriended her, asked detailed questions

about her life, and then normalized sexual activity around Epstein. Each victim will describe the

use of massage as a technique to transition into sexual activity. Each victim will describe how the

presence of an adult woman manipulated her into entering an abusive situation. In other words,

this is a case that involves multiple witnesses describing the same course of conduct, substantially

corroborating each other.




1
  At the initial bail hearing, the defendant also raised a series of legal challenges she intended to
make on the face of the Indictment, all of which she contended weighed in favor of granting bail.
After receiving discovery, the defense now appears to have abandoned those arguments, at least
insofar as they pertain to the issue of bail.


                                                 10
Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 14 of 36
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 15 of 36




and that certain of the corroborating documentary evidence does not specifically name Maxwell.

Leaving aside the fact that volume is not a reliable proxy for quality, by its very nature, abusive

sexual contact is not the type of crime that leaves extensive documentary evidence. But, as

described above,

                                                                               . To the extent other

corroborative documents refer only to Epstein, they still support these victims’ testimony, which

will detail their interactions with both the defendant and her co-conspirator, Epstein. In other

words, documentary evidence does exist, and as the Court has already found, the combination of

multiple victims describing the same scheme, together with documents and other witnesses

confirming that those victims did indeed interact with the defendant and Epstein at the times and

places they say they did, makes this a strong case. (Tr. 82).

       Taken together, this evidence confirms that the Government’s case remains as strong as it

was at the time of the defendant’s arrest. Accordingly, this factor continues to weigh heavily in

favor of detention.

   C. The Characteristics of the Defendant

       The defendant’s history and characteristics include significant foreign ties, millions of

dollars in cash that she largely transferred to her spouse in the last five years, among other assets,

and a demonstrated willingness and sophisticated ability to live in hiding. The bulk of the

arguments in the Renewed Bail Motion focus on this factor in a manner that largely rehashes claims

that this Court already considered at the July 14, 2020 hearing. Any new information provided

was either known by the defense at the time of the initial hearing, assumed to be the case when the

Court analyzed this factor at the initial hearing, or, in the case of the defense report regarding




                                                 12
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 16 of 36




French law, is simply incorrect. Accordingly, the defendant’s foreign ties, wealth, and skill at

avoiding detection continue to weigh in favor of detention.

       First, there can be no serious dispute that the defendant has foreign ties. She is a citizen

of three countries and holds three passports. As was already noted at the original hearing and is

again evidenced in the Renewed Bail Application, the defendant has close relatives and friends

who live abroad, as well as a multi-million dollar foreign property and at least one foreign bank

account. (Tr. 83). In an attempt to minimize the defendant’s foreign ties, the defense emphasizes

the defendant’s relatives and friends in the United States, history of residence in the United States,

and United States citizenship. But the Court was already aware of those factors when making its

original detention decision. (See Tr. 84; Dkt. 18 at 2, 12). The letters and documentation included

in the Renewed Bail Motion simply prove points that were not in dispute.                   What that

documentation does not do, however, is suggest that the defendant has the kind of ties to this

country that come with any employment in the United States or any dependents living here.

Indeed, as noted in the Pretrial Services Report, the defendant stated in July that she has no children

and has no current employment. (Pretrial Services Report at 3).

       The Renewed Bail Motion fails to establish sufficiently strong ties to the United States that

would prevent her from fleeing. Although the defendant now claims her marriage would keep her

in the United States, her motion does not address the plainly inconsistent statements she made to

Pretrial Services at the time of her arrest, when, as documented in the Pretrial Services Report, the

defendant said she was “in the process of divorcing her husband.” (Id.). On this point, it bears

noting that the defendant’s motion asks that she be permitted to live with             if granted bail,

not her spouse. Moreover, the fact that the defendant’s spouse has only now come forward to

support the defendant should be afforded little weight given that he refused to come forward at the




                                                  13
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 17 of 36




time of her arrest. While a friend’s desire to avoid publicity may be understandable, a spouse’s

desire to distance himself in that manner—particularly when coupled with the defendant’s

inconsistent statements about the state of their relationship—undermine her assertion that her

marriage is a tie that would keep her in the United States.3 As for the defendant’s asserted

relationships with                   and other relatives in the United States, the defendant did not

appear to have an issue living alone without these relatives while she was in hiding in New

Hampshire, which undercuts any suggestion that these ties would keep her in the United States. In

any event, the defendant could easily receive visits from her family members while living abroad,

and, as noted, the defendant has multiple family members and friends who live abroad.

       In addition to those foreign connections and ample means to flee discussed further below,

the defendant will have the ability, once gone, to frustrate any potential extradition. Attempting

to downplay that concern, the defense relies on two legal opinions to claim that the defendant can

irrevocably waive her extradition rights with respect to both the United Kingdom and France.

(Mot. at 25; Def. Ex. U; Def. Ex. V). But the defendant’s offer to sign a so-called “irrevocable

waiver of her extradition rights” is ultimately meaningless: it provides no additional reassurance

whatsoever and, with respect to France, is based on an erroneous assessment of France’s position

on the extradition of its nationals. (Mot. at 25).

       As an initial matter, the Government would need to seek the arrest of the defendant before

such a waiver would even come into play. Even assuming the defendant could be located and

apprehended—which is quite an assumption given the defendant’s access to substantial wealth and


3
  Adding to this confusion, bank records reflect that when the defendant and her spouse established
a trust account in or about 2018, they filled out forms in which they were required to provide
personal information, including marital status. On those forms, both the defendant and her spouse
listed their marital status as “single.” It is unclear why the defendant did not disclose her marital
status to the bank, but that lack of candor on a bank form mirrors her lack of candor with Pretrial
Services in this case, discussed further below.


                                                     14
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 18 of 36




demonstrated ability to live in hiding—numerous courts have recognized that purported waivers

of extradition are unenforceable and effectively meaningless. See, e.g., United States v. Epstein,

425 F. Supp. 3d 306, 325 (S.D.N.Y. 2019) (“The Defense proposal to give advance consent to

extradition and waiver of extradition rights is, in the Court’s view, an empty gesture. And, it comes

into [play] only after [the defendant] has fled the Court’s jurisdiction.”); United States v. Morrison,

No. 16-MR-118, 2016 WL 7421924, at *4 (W.D.N.Y. Dec. 23, 2016); United States v. Kazeem,

No. 15 Cr. 172, 2015 WL 4645357, at *3 (D. Or. Aug. 3, 2015); United States v. Young, Nos. 12

Cr. 502, 12 Cr. 645, 2013 WL 12131300, at *7 (D. Utah Aug. 27, 2013); United States v. Cohen,

No. C 10-00547, 2010 WL 5387757, at *9 n.11 (N.D. Cal. Dec. 20, 2010); United States v. Bohn,

330 F. Supp. 2d 960, 961 (W.D. Tenn. 2004); United States v. Stroh, No. 396 Cr. 139, 2000 WL

1832956, at *5 (D. Conn. Nov. 3, 2000); United States v. Botero, 604 F. Supp. 1028, 1035 (S.D.

Fla. 1985).4 For very good reason: Any defendant who signs such a purported waiver and then

flees will assuredly contest the validity and/or voluntariness of the waiver, and will get to do so in



4
  The defense argues that several courts “have addressed concerns about a defendant’s ties to a
foreign state that enforces extradition waiver by requiring the defendant to execute such a waiver
as a condition of release.” (Mot. at 26). In the cases cited by the defendant, the courts approved
the release of the defendants based on the particular facts, but did not address at all the question of
whether a waiver of extradition is enforceable. See United States v. Khashoggi, 717 F. Supp. 1048,
1050-52 (S.D.N.Y. 1989) (noting, among other things, that the Government’s case was “novel,”
and presented an “untried theory of liability” and that the defendant not only waived his right to
appeal extradition in Switzerland but that he traveled immediately to the United States for
arraignment, and that his country’s government committed to ensuring his appearance at trial);
United States v. Salvagno, 314 F. Supp. 2d 115, 119 (N.D.N.Y. 2004) (denying Government
motion to remand after trial where court found defendant not likely to flee); United States v. Chen,
820 F. Supp. 1205, 1209, 1212 (N.D. Cal. 1992) (reconsidering pretrial release where case had
“taken a number of surprising turns,” including the “suppression of video evidence, the
indeterminate stay of proceedings, the overall uncertainty of the government’s evidence”); United
States v. Karni, 298 F. Supp. 2d 129, 133 (D.D.C. 2004); United States v. Cirillo, No. 99-1514,
1999 WL 1456536, at *2 (3d Cir. July 13, 1999); see also United States v. Georgiou, No. 08-1220-
M, 2008 WL 4306750, at *3 (E.D. Pa. Sept. 22, 2008) (distinguishing Cirillo on the facts and
noting that “defense counsel concedes that a waiver of extradition may not be enforceable in
Canada, a fact the court in Cirillo did not mention in its opinion”).


                                                  15
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 19 of 36




the jurisdiction of her choosing (i.e., the one to which she chose to flee). The Department of

Justice’s Office of International Affairs (“OIA”) is unaware of any country anywhere in the world

that would consider an anticipatory extradition waiver binding. Indeed, the defendant’s own

experts’ conclusion—that “because of these waivers and other factors, it is highly unlikely that she

would be able to resist extradition successfully,” (Mot. at 27)—leaves open the possibility that she

could avoid extradition.

       Such an outcome is virtually a certainty as to France, a country of which the defendant is

a citizen and which does not extradite its citizens to the United States. To confirm this fact, after

receiving the Renewed Bail Motion, the Government, through OIA, contacted the French Ministry

of Justice (“MOJ”) to clarify whether there is any circumstance under which France would

extradite a French citizen to the United States. In response, the MOJ provided the Government

with a letter setting forth the relevant law and conclusively stating that France does not extradite

its citizens to the United States. That letter in its original French, as well as an English translation

of the letter, are attached hereto as Exhibit B. In that letter, the MOJ makes clear that France does

not extradite its nationals outside the European Union (regardless of the existence of dual

citizenship), including to the United States, and has never derogated from that principle outside

the European Union. See Ex. B; see also United States v. Cilins, No. 13 Cr. 315 (WHP), 2013 WL

3802012, at *2 (S.D.N.Y. July 19, 2013) (“Because France refuses to extradite its citizens, Cilins

can avoid prosecution on this Indictment if he can reach French soil.”).

       In other words, even assuming the Government could locate the defendant, if she flees to

France, her citizenship in that country will completely bar her extradition. Any purported waiver

of extradition executed in the United States would not be enforceable against the defendant in

France because French law embodies an inflexible principle that its citizens will not be extradited




                                                  16
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 20 of 36




to other countries outside of the European Union, including the United States. As set forth in

Exhibit B, according to the MOJ, the French Code of Criminal Procedure “absolutely prohibits the

extradition of a person who had French nationality at the time of the commission of the acts for

which extradition is requested.” (Ex. B at 3). That the defendant is a citizen of multiple countries

is of no moment. (See id.). In applying the Bilateral Extradition Treaty between the United States

and France and the “general principle of non-extradition of nationals under French law, France

systematically refuses to grant the extradition of French nationals to the American judicial

authorities.”   (Id. at 4).   Thus, contrary to the suggestion of the defense submission, any

anticipatory waiver of extradition would not be effective under French law, and would not be

recognizable by French courts in any extradition process, or otherwise enforceable.

       The defendant’s expert writes that “[i]n the recent past,” he is “not aware that the French

authorities would have had to address the situation in which the United States sought extradition

of a French citizen who was also a United States citizen. Thus, there is no precedent to draw from

in that regard.” (Def. Ex. V. at 2). That is not so. France has previously rejected such a request.

For example, in 2006, Hans Peterson, an American citizen and French national, turned himself in

to French authorities in Guadeloupe and confessed to committing a murder in the United States.

Despite turning himself in to French authorities, Peterson remained beyond the reach of U.S. law

enforcement despite the repeated requests of OIA and U.S. officials. See Durbin, Schakowsky,

Emanuel Urge French Justice Minister To Ensure Justice Is Done During Hans Peterson Retrial

(Nov. 16, 2012), https://www.durbin.senate.gov/newsroom/press-releases/durbin-schakowsky-

emanuel-urge-french-justice-minister-to-ensure-justice-is-done-during-hans-peterson-retrial; see

also      Senators’      letter     to     French       government       (Mar.      14,      2008),

https://www.nbcnews.com/id/wbna23601583 (citing a letter from the MOJ to the Department of




                                                17
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 21 of 36




Justice on August 22, 2007 which provides that the “Ministry of Justice considers the American-

born, U.S. citizen Peterson to also be a French national and that the extradition request has been

denied”). Indeed, the Government is unaware of any instance in which France has ever extradited

a French citizen to the United States. (See Ex. B at 4 (“[T]he principle of non-extradition of

nationals is a principle of extradition law from which France has never deviated outside the

framework of the European Union.”)). Simply put, the Court was correct when it determined at

the initial bail hearing that France does not appear to extradite its own citizens. (Tr. 83).

       The defendant’s supposed waiver of her extradition rights with respect to the United

Kingdom should similarly be afforded no weight. Although an anticipatory waiver of extradition

may be admissible in extradition proceedings in the United Kingdom, such a waiver is by no means

binding, authoritative, or enforceable. See United States v. Stanton, No. 91 Cr. 889 (CHS), 1992

WL 27130, at *2 & n.1 (S.D.N.Y. Feb. 4, 1992) (denying modification of defendant’s bail where

defendant indicated willingness to waive extradition proceeding by providing extradition waivers,

as British authorities advised that extradition waivers were possible only in cases where the

fugitive actually appeared before a British magistrate after the filing of an extradition request, and

concluding that such a waiver was not an “enforceable undertaking”).              Under the United

Kingdom’s Extradition Act of 2003, consent to extradition is permitted, “if (and only if) [a person]

has the assistance of counsel or a solicitor to represent him in the proceedings before the

appropriate judge.”     Extradition Act 2003, § 127(9), https://www.legislation.gov.uk/ukpga/

2003/41. As such, a judge in the United Kingdom must independently evaluate any waiver of

extradition in real time, thereby necessarily rendering any anticipatory waiver executed before the

defendant is found in the United Kingdom meaningless. Id. at §127. In other words, consent given




                                                  18
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 22 of 36




to authorities in the United States would not be binding in the United Kingdom, and the defendant

could easily decide not to consent to extradition once found abroad.

       Further, a judge in the United Kingdom must make an independent decision on extradition

based on the circumstances at the time the defendant is before the court, including the passage of

time, forum, and considerations of the individual’s mental or physical condition. See, e.g., id. at

§§ 82, 83A, & 91. Even if a final order of extradition has been entered by a court, the Secretary

of State still has the discretion to deny extradition. See id. at § 93. The Government understands

from OIA that extradition from the United Kingdom is frequently extensively litigated, uncertain,

and subject to multiple levels of appeal.       Moreover, even where the process is ultimately

successful, it is lengthy and time-consuming.

       Ultimately, although the defendant purports to be willing to waive her right to challenge

being extradited to the United States, she simply cannot do so under the laws of France and the

United Kingdom, and she would be free to fight extradition once in those countries. And, of

course, the defendant could choose to flee to another jurisdiction altogether, including one with

which the United States does not have an extradition treaty. The defendant’s written waivers of

extradition from France and the United Kingdom certainly provide no guarantee that the defendant

will not flee to a third country from which, even if she can be located, extradition may be

impossible. Courts have recognized that lack of an effective means of extradition can increase a

defendant’s flight risk, and have cited such facts as a relevant consideration in detaining defendants

pending trial. See, e.g., United States v. Namer, 238 F.3d 425, 2000 WL 1872012, at *2 (6th Cir.

Dec. 12, 2000); Cilins, 2013 WL 3802012 at *2; United States v. Abdullahu, 488 F. Supp. 2d 433,

443 (D.N.J. 2007) (“The inability to extradite defendant should he flee weighs in favor of

detention.”).   Beyond being impossible to guarantee, extradition is typically a lengthy,




                                                 19
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 23 of 36




complicated, and expensive process, which would provide no measure of justice to the victims

who would be forced to wait years for the defendant’s return. The strong possibility that the

defendant could successfully resist extradition only heightens the defendant’s incentive to flee.

       Second, the defendant’s behavior in the year leading up to her arrest demonstrates her

sophistication in hiding and her ability to avoid detection. The Court noted as much in denying

bail, and the Renewed Bail Application also does nothing to change that conclusion. (Tr. 87).

Indeed, the defendant’s time in isolation in the year leading up to her arrest makes clear that, even

to the extent she has loved ones and property in this country, she has proven her willingness to cut

herself off entirely from them and her ability to live in hiding. She did so by purchasing a home

using a trust in another name and introducing herself to the real estate agent under an alias, placing

her assets into accounts held under other names, registering cellphones and at least one credit card

under other names, and living in near total isolation away from her loved ones.

       The Renewed Bail Application again tries to cast those steps as efforts to avoid the media

frenzy that followed Epstein’s death. (Tr. 44, 56-57). However, as the Court already recognized,

regardless of the defendant’s reasons for taking these steps, that course of conduct clearly

establishes her expertise at remaining hidden and her willingness to cut herself off from her family

and friends in order to avoid detection. (Tr. 87). Rare is the case when a defendant has already

demonstrated an aptitude for assuming another identity and concealing her assets, including when

purchasing property, registering cellphones, and managing finances. Here, the defendant has

indisputably taken all of those steps. She was able to do so because of both her finances and her

willingness to take extreme measures and to experience social isolation away from her loved ones.

And she was so good at assuming another identity that she was able to avoid notice by locals and




                                                 20
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 24 of 36




the media even when a bounty was offered for her location and when numerous media outlets were

searching for her.

       The charts, graphs, and affidavits proffered by the defense do not undercut the defendant’s

skill at evading detection, and do nothing more than restate the justification for those actions that

the defense already made at the prior hearing. (See Dkt. 18 at 14-16). That said, there is still

reason to believe that the defendant was hiding not just from the press, but also from law

enforcement. It is undisputed that defense counsel, even while in contact with the Government,

never disclosed the defendant’s location or offered her surrender if she were to be charged. (Tr.

53-54). The Court already inquired about defense counsel’s interactions with the Government in

the year leading up to the defendant’s arrest, and the Renewed Bail Application offers nothing new

on that score. (Id.). Defense counsel contacted the Government when the FBI attempted to serve

the defendant with a subpoena, but were unable to locate her, on July 7, 2019. Prior to her arrest,

the Government and defense counsel communicated on multiple occasions between July and

October of 2019, and communicated briefly on two additional occasions, most recently in March

of 2020. At no point did defense counsel disclose the defendant’s location, offer to surrender the

defendant, or offer to bring the defendant in to be interviewed.

       Moreover it is undisputed that when the FBI located the defendant, she ignored their

directives and ran away from the arresting agents. Although the defense has submitted an affidavit

from the defendant’s private security team, nothing in that affidavit should alter the Court’s

determination that detention is appropriate here. The defense already informed the Court at the

July 14, 2020 bail hearing that the defendant’s security protocol was to move to an inner room if

her security was breached. (Tr. 55). Even still, the new affidavit makes clear that the agents who

entered the defendant’s property were wearing clothing that clearly identified them as FBI agents.




                                                 21
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 25 of 36




(Def. Ex. S ¶ 12). Moreover, the FBI announced themselves as federal agents to the defendant

when they first approached her. Thus, even if the defendant was following her private security’s

protocol when she fled, she did so knowing that she was disobeying the directives of FBI agents,

not members of the media or general public. Those actions raise the very real concern, particularly

in light of the terms of her proposed package, that the defendant would prioritize the directives of

her private security guards over the directives of federal law enforcement. Further, the act of

wrapping a cellphone in tin foil has no conceivable relevance to concerns about the press. The

defense argues that the defendant only took those measures because that particular phone number

had been released to the public, but that just suggests the defendant believed that was the only

number of which law enforcement was aware. In other words, there is still reason to believe, as

the Court previously found, that in the year leading up to her arrest, the defendant sought to evade

not only the press, but also law enforcement. (Tr. 87).

       Third, the defendant has access to significant wealth. At the initial bail hearing, the

Government expressed doubt that the defendant’s assets were limited to the approximately $3.8

million she reported to Pretrial Services, and noted that it appeared the defendant was less than

candid with Pretrial Services regarding the assets in her control. (Tr. 28-30, 72-73). The finances

outlined in the defense submission confirm the Government’s suspicion that the defendant has

access to far more than $3.8 million, confirm that the defendant was less than candid with Pretrial

Services (and, by extension, the Court) during her interview, and confirm that the defendant is a

person of substantial means with vast resources.5 The defendant’s apparent willingness to deceive



5
  As noted above, the Court effectively assumed the defendant had considerably more assets than
those disclosed to Pretrial Services in rejecting defense counsel’s repeated offer to provide a more
fulsome picture of the defendant’s finances and concluding that even assuming the defense could
provide a clearer description of the defendant’s assets, detention was still warranted. (See Tr. 87).



                                                 22
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 26 of 36




this Court already weighed in favor of detention, and confirmation of that deception only

reemphasizes that this defendant cannot be trusted to comply with bail conditions.

       Now, the defense has submitted a financial report that reflects the defendant has

approximately $22 million in assets—far more than the figure she initially reported to Pretrial

Services. (Def. Ex. O). Accepting the financial report at face value, it is clear that the defense’s

proposed bail package would leave the defendant with substantial resources to flee the country.

Not only would she have millions of dollars in unrestrained assets at her disposal,6 but she would

also have a $2 million townhouse in London, which she could live in or sell to support herself. In

other words, even with the proposed bond—which is only partially secured—the defendant would

still have millions of dollars at her disposal. She could absolutely afford to leave her friends and

family to lose whatever they may pledge to support her bond, and then repay them much of their

losses. In fact, the defendant could transfer money to her proposed co-signers immediately

following her release,7 given the large sums of money that would be left unrestrained by her

proposed bail package.

       Moreover, the schedule provided by the defense is notably silent regarding any future

revenue streams to which the defendant may have access. The financial report only addresses the

defendant’s assets without detailing her income at all. The defendant has similarly provided the

Court with no information about what resources her spouse might have access to on a prospective


6
   In particular, according to the report, the defendant would have more than $4 million in
unrestrained funds in accounts, in addition to hundreds of thousands of dollars of jewelry and other
items. Moreover, the Government presumes the defendant has not yet spent all $7 million of the
retainer paid to her attorneys, which would still belong to the defendant if she fled.
7
 The Government notes that two of the defendant’s proposed co-signers are citizens and residents
of the United Kingdom, against whom the Government could not realistically recover a bond
amount. These co-signers have not offered to secure this bond with any cash or property, and as
a result, such a bond would effectively be worthless if the defendant were to flee.



                                                23
Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 27 of 36
Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 28 of 36
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 29 of 36




only where, but for his wealth, he would not have been detained.” Id. Here, detention is warranted

not only because of the defendant’s financial means, but also her foreign ties, her skill at and

willingness to live in hiding, the nature of the offense resulting in a presumption of detention, and

the strength of the evidence, among other factors. The defense suggestion that the defendant’s

private security guards should post cash in support of a bond does not change this calculus. There

is no reason to believe that the defendant would be at all troubled by a security company in which

she has no personal stake losing $1 million, especially if that sacrifice meant she could escape

conviction and sentencing. Accordingly, release to the equivalent of a “privately funded jail” is

not warranted here. Id. at 83.

       Relatedly, as the Court previously recognized (Tr. 87-88), a GPS monitoring bracelet offers

little value for a defendant who poses such a significant flight risk because it is does nothing to

prevent the defendant’s flight once it has been removed. At best, home confinement and electronic

monitoring would reduce a defendant’s head start after cutting the bracelet. See United States v.

Banki, 10 Cr. 008 (JFK), Dkt. 7 (S.D.N.Y. Jan. 21, 2010) (denying bail to a naturalized citizen

who was native to Iran, who was single and childless and who faced a statutory maximum of 20

years’ imprisonment, and noting that electronic monitoring is “hardly foolproof.”), aff’d, 369 F.

App’x 152 (2d Cir. 2010); United States v. Zarger, No. 00 Cr. 773 (JG), 2000 WL 1134364, at *1

(E.D.N.Y. Aug. 4, 2000) (rejecting defendant’s application for bail in part because home detention

with electronic monitoring “at best . . . limits a fleeing defendant’s head start”); United States v.

Benatar, No. 02 Cr. 099 (JG), 2002 WL 31410262, at *3 (E.D.N.Y. Oct. 10, 2002) (same). Simply

put, no bail conditions, including those proposed in the Renewed Bail Motion, would be sufficient

to ensure that this defendant appears in court.




                                                  26
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 30 of 36




       In urging a different conclusion, the defense again cites the same cases discussed in its

initial briefing and at the July 14, 2020 hearing to argue that the proposed bail conditions are

consistent with or exceed those approved by courts in this Circuit for “high-profile defendants with

financial means and foreign citizenship.” (Mot. at 34; see Dkt. 18 at 16, 21; Tr. 48-51). The Court

should reject the defense’s efforts to raise the same precedent that the Court already took into

consideration when denying bail. “A motion for reconsideration may not be used . . . as a vehicle

for relitigating issues already decided by the Court.” Jackson v. Goord, 664 F. Supp. 2d 307, 313

(S.D.N.Y. 2009) (internal quotation marks omitted). The Court already considered and rejected

the defendant’s efforts to liken her case to other “serious and high-profile prosecutions where the

courts, over the government’s objection, granted bail to defendants with significant financial

resources.” (Tr. 88). Noting “crucial factual differences,” the Court described those cases,

including United States v. Esposito, 309 F. Supp. 3d 24 (S.D.N.Y. 2018), United States v. Dreier,

596 F. Supp. 2d 831 (S.D.N.Y. 2009), and United States v. Madoff, 586 F. Supp. 2d 240 (S.D.N.Y.

2009), as “not on point and not persuasive,” and distinguished the defendant for a number of

reasons, including the defendant’s “significant foreign connections.”            (Tr. 88; see id.

(distinguishing Esposito where the risk of flight appeared to “have been based on the resources

available to defendant, not foreign connections or experience and a record of hiding from being

found”); id. (distinguishing Madoff where “the defendant had already been released on a bail

package agreed to by the parties for a considerable period of time before the government sought

detention”)).

       The Court already engaged in a fact-specific analysis in ordering the defendant detained.

Among the reasons provided, the Court found that the “the defendant not only has significant

financial resources, but has demonstrated sophistication in hiding those resources and herself.”




                                                27
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 31 of 36




(Tr. 87). Following the analysis the Court has already conducted, several of the cases cited by the

defendant are readily distinguishable. See, e.g., United States v. Khashoggi, 717 F. Supp. 1048,

1050-52 (S.D.N.Y. 1989) (in ordering defendant released pending trial, noting, among other

things, that the defendant not only waived his right to appeal extradition in Switzerland, but that

he traveled immediately to the United States for arraignment, and that his country’s Government

committed to ensuring his appearance at trial); United States v. Bodmer, No. 03 Cr. 947 (SAS),

2004 WL 169790, at *1, *3 (S.D.N.Y. June 28, 2004) (setting conditions of bail where defendant

arrested abroad had already consented to extradition to the United States and finding that the

Government—whose argument was “based, in large part, on speculation” as to the defendant’s

financial resources—had “failed to meet its burden”). And there is support in the case law for

detaining individuals in comparable situations to the defendant. See, e.g., United States v.

Boustani, 356 F. Supp. 3d 246, 252-55 (E.D.N.Y.), aff’d, No. 19-344, 2019 WL 2070656 (2d Cir.

Mar. 7, 2019) (ordering defendant detained pending trial and finding that defendant posed a risk

of flight based on several factors, including seriousness of the charged offenses, lengthy possible

sentence, strength of Government’s evidence, access to substantial financial resources, frequent

international travel, “minimal” ties to the United States, and “extensive ties to foreign countries

without extradition”); United States v. Patrick Ho, 17 Cr. 779 (KBF), Dkt. 49 (S.D.N.Y. Feb. 4,

2018) (ordering defendant detained based on defendant’s risk of flight and citing the strength of

the Government’s evidence, lack of meaningful community ties, and “potential ties in foreign

jurisdictions”); United States v. Epstein, 155 F. Supp. 2d 323, 324-326 (E.D. Pa. 2001) (finding

that defendant’s dual citizenship in Germany and Brazil, lucrative employment and property

interests, and lack of an extradition treaty with Brazil weighed in favor of detention despite the

fact that defendant and his wife owned “substantial” property and other significant assets in the




                                                28
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 32 of 36




United States). Further, unlike those cases and the cases cited by the defendant, the crimes charged

here involving minor victims trigger a statutory presumption in favor of detention, weighing

further in favor of detention. See Mercedes, 254 F.3d at 436.

       “Each bail package in each case is considered and evaluated on its individual merits by the

Court.” Epstein, 425 F. Supp. 3d at 326. Unlike the cases cited by the defense, the Government

seeks detention not solely on the basis that the defendant is of financial means and has foreign

citizenship. Rather, detention is warranted because the defendant is a citizen of multiple foreign

countries, including one that does not extradite its nationals, with “substantial international ties,”

“familial and personal connections abroad,” and “substantial financial resources,” (Tr. 83-84), with

a demonstrated sophistication in hiding herself and her assets, who, for the myriad reasons

discussed herein and identified at the original hearing—including the seriousness of the offense,

the strength of the Government’s evidence, and the potential length of sentence—presents a

substantial flight risk. (Tr. 82-91). The defendant continues to pose an extreme risk of flight, and

the defense has not offered any new information sufficient to justify reversal of the Court’s prior

finding that no combination of conditions could ensure her appearance.

   D. Conditions of Confinement

       Finally, the Renewed Bail Application reiterates the same argument about the potential

harms of detention on the defendant that this Court rejected at the initial bail hearing. (Tr. 42, 68-

69). As was the case in July, these complaints do not warrant the defendant’s release.

       The defendant continues to have more time than any other inmate at the MDC to review

her discovery and as much, if not more, time to communicate with her attorneys. Specifically, the

defendant currently has thirteen hours per day, seven days per week to review electronic discovery.

Also during that time, the defendant has access to email with defense counsel, calls with defense




                                                 29
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 33 of 36




counsel, and when visiting is available depending on pandemic-related conditions, the defendant

has access to legal visits. Due to the recently implemented lockdown at the MDC, visitation is not

currently available, but MDC legal counsel is arranging for the defendant to receive a VTC call

with legal counsel three hours per day every weekday, starting this Friday. Defense counsel will

also be able to schedule legal calls on weekends as needed. Given those facts, the defense

argument essentially suggests that no defendant could prepare for trial while housed at the MDC—

a patently incorrect claim.

       The defendant is able to review her discovery using hard drives provided by the

Government, discs that defense counsel can send containing any copies of discovery material

defense counsel chooses within the confines of the protective order, or hard copy documents

provided by defense counsel. The Government has taken multiple steps to address technical

difficulties the defendant has encountered when reviewing her hard drives. These steps included

modifying and reproducing productions in new formats, asking MDC IT staff to assist the

defendant in viewing her hard drives on the MDC computer, and then purchasing and providing a

laptop for the defendant’s exclusive use.10 Even when the defendant was temporarily unable to

review some files from some hard drives, she was always able to review other portions of her

discovery.




10
   The Government understands from MDC legal counsel that the defendant has access to the
laptop thirteen hours per day during weekdays and has access to the MDC desktop computer
thirteen hours per day seven days per week. The use of the laptop is limited to weekdays because
the MDC restricts the number of employees who carry the key to the secure location where the
laptop is kept, and the employees with that key do not work regularly on weekends. The MDC
previously accommodated an exception to this rule while the defendant was in quarantine and
arranged for her to use the laptop in her isolation cell on weekends because otherwise she would
not have had access to a computer during weekends while in quarantine. Now that she is out of
quarantine, the defendant will have access to the MDC desktop computer on weekends.



                                               30
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 34 of 36




       As to the defense’s most recent complaints, the malfunctioning of the sixth production that

the defense complains of resulted from the defendant herself dropping the hard drive onto the

ground, and that drive has been replaced. When the defense informed the Government that the

drive containing the seventh production may be malfunctioning, the Government offered to have

IT staff review the drive. In response, the defense indicated the drive was in fact still viewable

and declined to have IT staff review it. Accordingly, it is the Government’s understanding that

the defendant currently has a full, readable set of discovery at the MDC. At the defense’s request,

the Government is preparing yet another copy containing all productions to date on a single drive

so that the defendant will have a backup copy of discovery materials at the MDC.11 Throughout

the defendant’s pretrial detention, the Government has been responsive to the defense’s concerns

regarding access to discovery and counsel. The Government will continue to work with MDC

legal counsel to ensure that the defendant is able to review her discovery and to communicate with

defense counsel over the seven months still remaining before trial.

       As to the defense complaints regarding the defendant’s conditions of confinement, the

defense notably does not suggest that the defendant should be housed in general population.

Indeed, the defense appears to agree that the best way to ensure the defendant’s safety while

detained is to be away from general population. Unlike other inmates in protective custody,

however, the defendant is released from her isolation cell for thirteen hours per day, has her own

shower, has exclusive use of two different computers, has her own phone to use, and has her own

television. Those conditions set her far apart from general population inmates, not to mention



11
  On this score, the Government notes the tension between the defense claim that the discovery
produced to date contains little of value or relevant to the charges set forth in the Indictment, and
the simultaneous claim that the defendant has been prejudiced by technical difficulties that have
temporarily delayed her ability to review portions of those productions, productions which,
according to the defense, counsel have already been able to conclude are essentially unimportant.


                                                 31
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 35 of 36




other inmates in protective custody. Additionally, psychology and medical staff check on the

defendant daily, MDC legal staff are highly attuned to any complaints the defendant has raised,

and following initial complaints about the defendant’s diet early in her incarceration, the MDC has

ensured that the defendant receives three full meals per day and has access to commissary from

which she can supplement her diet.

        The MDC has taken numerous steps to strike the balance between the security of the

institution and providing the defendant with adequate time and resources to prepare her defense.

In that vein, many of the searches the defendant complains of—such as searches after every visit,

searches of her cell, pat downs when she is moved, and directing her to open her mouth for visual

inspection (while the searching staff member is wearing a mask)—are the same searches to which

every other inmate is subjected for the security of the institution. MDC legal counsel has assured

the Government that MDC staff does not record or listen to the substance of the defendant’s calls

and visits with legal counsel. To the extent MDC staff conducts additional searches or monitoring

of the defendant, MDC legal counsel has indicated that those steps are necessary to maintain the

security of the institution and the defendant.

        With respect to the defense concerns regarding COVID-19, the Government recognizes, as

it did in its initial bail briefing, that the virus presents a challenge at any jail facility. At least for

this defendant, the MDC’s precautionary measures appear to have worked. When the defendant

was potentially exposed to the virus, she was placed in quarantine, remained asymptomatic, tested

negative, and then was released from quarantine. As the Court found at the initial bail hearing, the

defendant has no underlying health conditions that would place her at greater risk of complications

from COVID-19. (Tr. 89). For that same reason, the Court should again reject the suggestion that

the pandemic warrants the defendant’s release.




                                                    32
        Case 1:20-cr-00330-AJN Document 100 Filed 12/18/20 Page 36 of 36




                                        CONCLUSION

       As this Court previously found, the defendant “poses a substantial actual risk of flight.”

(Tr. 86). Nothing in the defense submission justifies altering the Court’s prior conclusion that

there are no conditions of bail that would assure the defendant’s presence in court proceedings in

this case. Accordingly, the Renewed Bail Motion should be denied.


Dated: New York, New York
       December 16, 2020

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             Acting United States Attorney


                                     By:
                                             Maurene Comey
                                             Alison Moe
                                             Lara Pomerantz
                                             Assistant United States Attorneys
                                             (212) 637-2324




                                               33
